Case 2:19-cr-20246-DPH-APP ECF No. 70 filed 11/08/19 PagelD.264

GOVERNMENT
EXHIBIT

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

United States of America, No. 19-20246
Plaintiff, Hon. Denise Page Hood
V.
Offense(s):
D-5 Garrett Endicott, 18 U.S.C. § 1349
Conspiracy to Commit Wire Fraud
Defendant. Maximum Penalty:

/ 20 (Count 1)
Maximum Fine:
Not to exceed $250,000

Mandatory Supervised Release:
Up to 3

Rule 11 Plea Agreement

Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, defendant
GARRETT ENDICOTT (D-5) and the government agree as follows:
Li Guilty Plea

A. Count of Conviction

Defendant will enter a plea of guilty to Count One of the Indictment, which

charges him with conspiracy to commit wire fraud, in violation of 18 U.S.C. §

1349.
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B. Elements of the Offense
The elements of Count One are as follows:

1. First, that two or more persons conspired, or agreed, to commit the
crime of Wire Fraud; and

2. Second, that the defendant knowingly and voluntarily joined the
conspiracy.

The elements of the crime of Wire Fraud are as follows:

1. First, that a defendant knowingly participated in scheme to defraud
in order to obtain money or property;

2. Second, that the scheme included a material misrepresentation or
concealment of a material fact;

3. Third, that a defendant had the intent to defraud; and

4. Fourth, that a defendant used wire communications in interstate
commerce in furtherance of the scheme.

C. Factual Basis for Guilty Plea

The following facts are a sufficient and accurate basis for defendant’s guilty
plea:

Beginning in approximately December of 2017 and continuing through
approximately May of 2018, in the Eastern District of Michigan and elsewhere,
defendant GARRETT ENDICOTT (D-5)—along with others known and
unknown—did knowingly, intentionally, and willfully combine, conspire,
confederate and agree to commit wire fraud. They knowingly, willfully, and with

the intent to defraud—having devised and intending to devise a scheme and artifice

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to defraud, and to obtain money and property by means of materially false and
fraudulent pretenses, representations, and promises, knowing such pretenses,
representations, and promises were false and fraudulent when made—transmitted
and caused to be transmitted (by means of wire communication) writings, signals,
pictures, and sounds in interstate and foreign commerce for the purposes of
executing such scheme and artifice.

The goal of this scheme was to obtain cryptocurrency by means of materially
false and fraudulent pretenses and representations. The manner and means of this
conspiracy involved SIM Hijacking,” or “SIM Swapping.” This tactic enabled the
conspirators to gain control of a victim’s mobile phone number by linking that
number to a subscriber identity module (“SIM”) card controlled by the
conspirators—tresulting in the victim’s phone calls and short message service
(“SMS”) messages being routed to a device controlled by the conspirators. Once
conspirators had control of a victim’s phone number, it was leveraged as a gateway
to gain control of online accounts such as the victim’s email, cloud storage, and—
ultimately—cryptocurrency exchange accounts.

As part of the conspiracy, GARRETT ENDICOTT (D-5) directly

| participated in thefts of cryptocurrency valued (at the time of theft) at

approximately $136,634.37.
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2. Sentencing Guidelines

A. Standard of Proof

The Court will find sentencing factors by a preponderance of the evidence.

B. Agreed Guideline Range

There are no sentencing guideline disputes. Except as provided below, the
defendant’s guideline range is 27 - 33 months, as set forth on the attached
worksheets. If the Court finds:

1. That defendant’s criminal history category is higher than reflected
on the attached worksheets, or

2. that the offense level should be higher because, after pleading
guilty, defendant made any false statement to or withheld
information from his probation officer; otherwise demonstrated a
lack of acceptance of responsibility for his offense; or obstructed
justice or committed any crime,
and if any such finding results in a guideline range higher than 27 - 33 months, the
higher guideline range becomes the agreed range. However, if the Court finds that
defendant is a career offender, an armed career criminal, or a repeat and dangerous
sex offender as defined under the sentencing guidelines or other federal law, and
that finding is not already reflected in the attached worksheets, this paragraph does
not authorize a corresponding increase in the agreed range.

Neither party may take a position concerning the applicable guidelines that is

different from any position of that party as reflected in the attached worksheets,
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except as necessary to the Court’s determination regarding subsections 1) and 2),
above.
3. Sentence

The Court will impose a sentence pursuant to 18 U.S.C. § 3553, and in doing
so must consider the sentencing guideline range.

A. Imprisonment

Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C) the sentence of
imprisonment in this case may not exceed the top of the sentencing guideline range
as determined by Paragraph 2B.

B. Supervised Release

A term of supervised release follows the term of imprisonment. The Court
must impose a term of supervised release, which in this case is a maximum of three
years. The agreement concerning imprisonment described above in Paragraph 3A
does not apply to any term of imprisonment that results from any later revocation of
supervised release.

C. Special Assessment

Defendant will pay a special assessment of $100.00 at the time of sentencing.

D. Fine

There is no agreement as to fines.
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E. Restitution

The Court shall order restitution to every identifiable victim of defendant’s
offense. Defendant agrees that this includes, but is not necessarily limited to,
paying restitution to the following victims: G.P., T.H., and D.R.

The amount of restitution will be calculated by the government prior to
sentencing. Defendant agrees to pay restitution to each of the above listed victims
in the amount of the higher of the following values, as calculated in U.S. dollars: (1)
the value of cryptocurrency stolen as calculated on the date the theft occurred or (2)
the value of cryptocurrency stolen as calculated on the date the Court accepts his
guilty plea.

Defendant is jointly and severally liable for these amounts, along with any other
co-defendants in this action who are ordered to pay restitution to the same victim
for the same theft. Defendant agrees that restitution is due and payable immediately .
after the judgment is entered and is subject to immediate enforcement, in full, by
the United States. 18 U.S.C. §§ 3612(c) and 3613. Ifthe Court imposes a schedule
of payments, Defendant agrees that the schedule of payments is a schedule of the
minimum payment due, and that the payment schedule does not prohibit or limit the

methods by which the United States may immediately enforce the judgment in full.
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F,

Forfeiture

Pursuant to 18 U.S.C. 981(a)(1)(C) with 28 U.S.C. § 2461(c), Defendant

agrees to forfeit to the United States his interest in all property, real and personal,

which constitutes or is derived, directly or indirectly, from gross proceeds traceable

to Defendant’s conspiracy to commit wire fraud, in violation of 18 U.S.C. § 1349,

as charged in Count One of the Indictment.

Specifically, Defendant agrees to forfeit to the United States, his interest in

the following:

47.65088638 Bitcoin seized from Garrett Endicott (approximate value
$290,032 as of May 9, 2019);

1.1296771 Dash seized from Garrett Endicott (approximate value $130
as of May 9, 2019);

10 Digibyte seized from Garrett Endicott (approximate value $98 as of
May 9, 2019);

20.7294867 Litecoin seized from Garrett Endicott (approximate value
$1,500 as of May 9, 2019);

32.2938135 Ethereum seized from Garrett Endicott (approximate value
$5,445 as of May 9, 2019);

.07245236 Ethereum seized from Garrett Endicott (approximate value
$12 as of May 9, 2019);

.00537818 Bitcoin seized from Garrett Endicott (approximate value
$32 as of May 9, 2019).
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Defendant agrees to the entry of one or more orders of forfeiture
incorporating forfeiture of the assets enumerated in this section, including the
Court’s prompt entry of a Preliminary Order of Forfeiture, following Defendant’s
guilty plea, upon application by the United States, at, or any time before, his
sentencing in this case, as mandated by Fed. R. Crim. P. 32.2. Defendant agrees to
sign such an order, indicating he consents to its entry if requested to do so by the
Government.

Defendant agrees that he will cooperate with the United States by taking
whatever steps are necessary to deliver clear title to property subject to forfeiture
under this agreement to the United States and will execute such legal documents as
may be required to transfer rights, title, and ownership to the United States and by
taking whatever steps are necessary to ensure that the property is not sold,
disbursed, hidden, wasted, or otherwise made unavailable for forfeiture.

Defendant acknowledges that he understands that the forfeiture of assets is
part of the sentence that may be imposed in this case and waives any failure by the
Court to advise him of this, pursuant to Fed. R. Crim. P. 11(b)(1)(J), or otherwise,
at the time of his guilty plea is accepted.

In entering into this agreement with respect to forfeiture, Defendant

knowingly, voluntarily, and intelligently waives any Double Jeopardy challenge, or
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any other challenge to the above-described forfeiture based on the Excessive Fines
Clause of the Eighth Amendment to the United States Constitution.

Defendant also agrees that Defendant shall assist the United States in all
proceedings, whether administrative or judicial, involving the forfeiture,
disgorgement, transfer, or surrender of all rights, title, and interest, regardless of
their nature of form, in the property that Defendant has agreed to forfeit, disgorge,
transfer, or surrender, and any other assets, including real and personal property,
cash, and other monetary instruments, wherever located, which Defendant or others
to his knowledge have accumulated as a result of illegal activities.

Such assistance will include agreement by Defendant’s heirs, successors, and
assigns, to forfeiture, disgorgement, transfer, or surrender, to any interest in the
above-described forfeiture. Such assistance will further involve an agreement by
Defendant to the entry of an order enjoining the transfer or encumbrance of assets
that may be identified as being subject to forfeiture, disgorgement, transfer, or
surrender.

Defendant also agrees to identify all assets over which he exercises control,
directly or indirectly, or has exercised such control, within the past five years. He
will identify all assets in which he has or had during that time any financial interest
will provide all necessary and appropriate documentation with respect to said

assets, including consents to forfeiture, quit claim deeds, and any and all other
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documents necessary to deliver good and marketable title to said property.
Defendant agrees to take all steps as requested by the government to obtain from
any other parties by any lawful means any records of assets owner at any time by
Defendant. He also agrees to undergo any polygraph examination the government
may choose to administer concerning such assets and to provide and/or consent to
the release of his tax returns for the previous five years.

Non-Abatement of Criminal Forfeiture: Defendant agrees the forfeiture
provisions of this Plea Agreement are intended to, and will, survive him,
notwithstanding the abatement of any underlying criminal conviction after the
execution of this agreement. The forfeitability of any particular property pursuant
to this agreement shall be determined as if Defendant had survived, and that
determination shall be binding upon Defendant’s heirs, successors, and assigns,
until the agreed forfeiture, including any agreed money judgment amount, is

collected in full.

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4, Financial Disclosure

Defendant agrees to make a full pre-sentence disclosure of his financial status
to the United States Attorney’s Office by completing a Financial Disclosure Form
and the accompanying releases for the purpose of determining his ability to pay
restitution. Defendant agrees to complete and return the Financial Disclosure Form
within three (3) weeks of receiving it from government counsel. Defendant agrees
to participate in a pre-sentencing debtor’s examination if requested to do so by
government counsel.
5. Use of Withdrawn Guilty Plea

If the Court allows defendant to withdraw his guilty plea for a “fair and just
reason” pursuant to Fed. R. Crim. P. 11(d)(2)(B), defendant waives his rights under
Fed. R. Evid. 410, and the government may use his guilty plea, any statement made
under oath at the change-of-plea hearing, and the factual basis statement in this plea
agreement, against him in any proceeding.
6. Other Charges

If the Court accepts this agreement, the government will dismiss all
remaining charges in this case. In addition, the government will not bring
additional charges against defendant based on any of the conduct reflected in the

attached worksheets.

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7. Each Party’s Right to Withdraw from This Agreement

The government may withdraw from this agreement if the Court finds the
correct guideline range to be different than is determined by Paragraph 2B.

Defendant may withdraw from this agreement, and may withdraw his guilty
plea, if the Court decides to impose a sentence higher than the maximum allowed
by Paragraph 3. This is the only reason for which defendant may withdraw from
this agreement. The Court shall advise defendant that if he does not withdraw his
guilty plea under this circumstance, the Court may impose a sentence greater than
the maximum allowed by Paragraph 3.
8. Appeal Waiver

The defendant waives any right he may have to appeal his conviction on any
grounds. If the defendant’s sentence of imprisonment does not exceed 33, the
defendant also waives any right he may have to appeal his sentence on any grounds.
If the defendant’s sentence of imprisonment is at least 27 months, the government
waives any right it may have to appeal the defendant’s sentence.

This waiver does not bar filing a claim of ineffective assistance of counsel in
court.
9. Consequences of Withdrawal of Guilty Plea or Vacation of Conviction

If defendant is allowed to withdraw his guilty plea or if any conviction

entered pursuant to this agreement is vacated, the Court shall, on the government’s

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request, reinstate any charges that were dismissed as part of this agreement. If
additional charges are filed against defendant within six months after the date the
order vacating defendant's conviction or allowing him to withdraw his guilty plea
becomes final, which charges relate directly or indirectly to the conduct underlying
the guilty plea or to any conduct reflected in the attached worksheets, defendant
waives his right to challenge the additional charges on the ground that they were not
filed in a timely manner, including any claim that they were filed after the
limitations period expired.
10. Collateral Consequences of Conviction

Defendant understands that his conviction here may carry additional
consequences under federal and state law, including the potential loss of the right to
vote, right to carry a firearm, right to serve on a jury, and ability to hold certain
licenses or to be employed in certain fields. Defendant further understands that, if
he is not a native-born citizen of the United States, there may be adverse
immigration consequences resulting from conviction. These include possible
removal from the United States, denial of citizenship, denaturalization, denied
admission to the United States in the future and other possible consequences.
Defendant understands that no one, including the defendant’s attorney or the Court,

can predict to a certainty the effect of defendant’s conviction on any of these

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matters. Defendant nevertheless affirms that he chooses to plead guilty regardless of
any immigration consequences or other collateral consequences of his conviction.
11. Parties to Plea Agreement

Unless otherwise indicated, this agreement does not bind any government
agency except the United States Attorney’s Office for the Eastern District of
Michigan.
12. Scope of Plea Agreement

This agreement, which includes all documents that it explicitly incorporates,
is the complete agreement between the parties. This agreement supersedes all other
promises, representations, understandings and agreements between the parties
concerning the subject matter of this plea agreement that were made at any time
before the guilty plea is entered in court. Thus, no oral or written promises made by
the government to defendant or to the attorney for the defendant at any time before
defendant pleads guilty are binding except to the extent they have been explicitly
incorporated into this agreement.

Notwithstanding the previous paragraph, if defendant has entered into a
proffer agreement in writing or a cooperation agreement in writing with the
government, this plea agreement does not supersede or abrogate the terms of any

such prior written agreement.

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This agreement also does not prevent any civil or administrative actions
against defendant, or any forfeiture claim against any property, by the United States
or any other party.

13. Acceptance of Agreement by Defendant

This plea offer expires unless signed on 11/08/2019. The government
reserves the right to modify or revoke this offer at any time before defendant pleads ©
guilty.

MATTHEW SCHNEIDER
United States Attorney

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John K. Neal Timothy Wyse
Assistant United States Attorney Assistant United States Attorney

Chief, White Collar Crimes

Date: 11/08/2019

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. By signing below, defendant acknowledges that he has read (or been read) this
entire document, understands it, and agrees to its terms. He also acknowledges that
he is satisfied with his attorney’s advice and representation. Defendant agrees that
he has had a full and complete opportunity to confer with his lawyer, and has had
all of his questions answered by his lawyer.

 

 

 

 

P.J. O'Connor Garrett Endicott
Attorney for Defendant Defendant

lel) 4 jileh4
Date * Date

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Defendant

OFFENSE LEVEL

District/Office Eastern District of Michigan

Garrett Endicott

 

Docket Number 2:19-cr-20474

Count Number(s) i

U.S. Code Title & Section 18 USC ; 1343

 

Guidelines Manual Edition Used: 2018 (Note: The Worksheets are keyed to the November 1, 2016 Guidelines Manual)

INSTRUCTIONS

Complete a separate Worksheet A for each count of conviction or as required in a situation listed at the bottom of Worksheet B.*
Exceptions: Use only a single Worksheet A where the offense level for a group of closely related counts is based primarily on
aggregate value or quantity (see §3D1.2(d)) or where a count of conspiracy, solicitation, or attempt is grouped with a substantive
count that was the sole object of the conspiracy, solicitation, or attempt (see §3D1.2(a) & (b)).

1.

Offense Level (See Chapter Two)

Enter the applicable base offense level and any specific offense characteristics from Chapter Two and explain the

bases for these determinations. Enter the sum in the box provided.

 

 

 

 

 

 

Guideline Description Level
2B1.1 Larceny, Embezzlement, and Other Forms of Theft 7
2B1.1(b)(1)(E) Greater than $95,000, less than $150,000 8
2B1.1(b)(2)(A)(i) Ten or more victims 2
2B1.1(b)(10)(C) Sophisticated means 2
2B1.1(b)(11)(ii) Use of an illicit authentication feature 2

 

If the Chapter Two guideline requires application of a cross reference or other
reference, an additional Worksheet A may be needed for that analysis. See §1B1.5.

Victim-Related Adjustments (See Chapter Three, Part A)

Enter the applicable section and adjustment. If more than one section is applicable,
list each section and enter the combined adjustment. If no adjustment is applicable,
enter “0”.

Role in the Offense Adjustments (See Chapter Three, PartB)

Enter the applicable section and adjustment. If more than one section is applicable,
list each section and enter the combined adjustment. If the adjustment reduces the
offense level, enter a minus (—) sign in front of the adjustment. If no adjustment is
applicable, enter “0”.

Obstruction Adjustments (See Chapier Three, Part C)

Enter the applicable section and adjustment. If more than one section is applicable,
list each section and enter the combined adjustment. If no adjustment is applicable,
enter “0”.

Adjusted Offense Level

._.$___.

Sum

Enter the sum of Items 14. If this Worksheet A does not cover all counts of conviction or situations
listed at the bottom of Worksheet B, complete Worksheet B. Otherwise, enter this result on

Worksheet D, Item 1.

 

 

 

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U.S, Sentencing Commission Worksheets (November 1, 2016)

Y Check here if all counts (including situations listed at the bottom of Worksheet B)* are addressed on this one
Worksheet A. If so, no Worksheet B is used.

v

If the defendant has no criminal history, enter “I” here and on Worksheet D, Item 4. No Worksheet C is used.
 

DETERMINING THE SENTENCE
[Page | of 4]

Defendant Garrett Endicott Docket Number 2:19-cr-20474

 

1. Adjusted Offense Level (From Worksheet A or B)
If Worksheet B is required, enter the result from Worksheet B, Item 9. Otherwise, enter the result
from Worksheet A, Item 5.

2. Acceptance of Responsibility (See Chapter Three, Part E)

Enter the applicable reduction of 2 or 3 levels. If no adjustment is applicable, enter “0”.

3. Offense Level Total (Item | less Item 2)

4. Criminal History Category (From Worksheet A or C)
Enter the result from Worksheet C, Item 8, unless the defendant has no criminal history, and as
directed at the bottom of Worksheet A, no Worksheet C is used and “I” is entered here.

5. Terrorism; Career Offender; Criminal Livelihood; Armed Career Criminal; Repeat and Dangerous

Sex Offender (See Chapter Three, Part A, and Chapter Four, Part B)

a. Offense Level Total

 

 

 

 

 

 

 

 

 

 

 

 

 

 

If the provision for Career Offender (§4B1.1), Criminal Livelihood (§4B1.3), Armed Career N/A
Criminal (§4B1.4), or Repeat and Dangerous Sex Offender (§4B1.5) results in an offense level total
higher than Item 3, enter the offense level total. Otherwise, enter “N/A”.

b. Criminal History Category
Ifthe provision for Terrorism (§3A1.4), Career Offender (§4B1.1), Armed Career Criminal (§4B1.4), N/A
or Repeat and Dangerous Sex Offender (§4B1.5) results in a criminal history category higher than
Item 4, enter the applicable criminal history category. Otherwise, enter “N/A”.

6. Guideline Range from Sentencing Table
Enter the applicable guideline range from Chapter Five, Part A, in months. 3 ; 33
7 oO

 

7. Restricted Guideline Range (See Chapter Five, Part G)

If the statutorily authorized maximum sentence or the statutorily required

 

minimum sentence restricts the guideline range (Item 6) (see §§5G1.1 and 5G1.2), N/A to
enter either the restricted guideline range or any statutory maximum or minimum

 

 

penalty that would modify the guideline range. Otherwise, enter “N/A”.

 

 

 

 

 

 

 

 

 

Check here if §5C1.2 (Limitation on Applicability of Statutory Minimum Penalties in Certain Cases) and
18 U.S.C. § 3553(e) — “The Safety Valve” — are applicable.

8. Undischarged Term of Imprisonment; Anticipated State Term of Imprisonment (See §5G1.3)

 

 

 

 

If the defendant is subject to an undischarged term of imprisonment, or an anticipated state term of
imprisonment, check this box. Below list the undischarged/anticipated term(s), the applicable section of
§5G1.3 and its direction or guidance as to whether the instant federal sentence is to be imposed to run
concurrently or consecutively to the undischarged/anticipated term(s), and any sentence adjustment.

 

 

 

U.S. Sentencing Commission Worksheets (November 1, 2016)
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Worksheet D — Determining the Sentence [Page e” of 4j

Defendant Garrett Endicott Docket Number 2:19-cr-20474

9. Sentencing Options (See Chapter Five, Sentencing Table and §§5B1.1(a) and 5C1.1)

Check the applicable box that corresponds to the Guideline Range entered in Item 6 or Item 7, if applicable.

 

Zone A (See §§5B1.1(a)}(1) & SC1.1(a) & (b))

 

 

 

If checked, the following options are available:

 

e Fine (See §§5C1.1(b) & 5E1.2(a))
e “Straight” Probation (See §§5B1.1(a)(1) & 5C1.1(b))

e Imprisonment (See §5C1.1(a) & (e)(1))

 

Zone B (See §§5B1.1(a)(2) & 5C1.1(a) & (c))

 

 

 

If checked, the mintmum term may be satisfied by:

 

e Imprisonment (See §5C1.1(a) & (c)(2))

e Imprisonment of at least one month plus supervised release with a condition that
substitutes community confinement or home detention for imprisonment

(See §5C1.1(c)(2))

e Probation with a condition that substitutes intermittent confinement, community
confinement, or home detention for imprisonment (See §§5B1.1(a)(2) and 5C1.1(c)(3))

 

Zone C (See §5C1.1(a) & (d))

 

 

 

 

If checked, the minimum term may be satisfied by:
e Imprisonment (See §5C1.1(a) & (d)(1))
e Imprisonment of at least one-half of the minimum term plus supervised release

with a condition that substitutes community confinement or home detention for
imprisonment (See §5C1.1(d)(2))

 

Zone D (See §5C1.1(a) & (f))

 

 

 

v If checked, the minimum term is to be satisfied by a sentence of imprisonment

 

10. Length of Term of Probation (See § 5B1.2)

If probation is imposed, the guideline for the length of such term of probation is: (Check the applicable box)

 

v At least one year, but not more than five years if the offense level total is 6 or greater.

 

 

 

 

No more than three years if the offense level total is 5 or less.

 

U.S. Sentencing Commission Worksheets (November 1, 2016}
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Worksheet D — Determining the Sentence [Page 3 of 4]

Defendant Garrett Endicott Docket Number 2:19-cr-20474

11. Supervised Release (See §§5D1.1 and 5D1.2)

a. Imposition of a Term of Supervised Release:

 

Ordered because required by statute (See §5D1.1(a)(1)).

 

 

¥ Ordered because a sentence of imprisonment of more than one year is imposed (See §5D1.1(a)(2)).

 

 

Is not ordered although a sentence of more than one year is imposed, because it is not required by
statute and the defendant likely will be deported after imprisonment (See §5D1.1(c)).

 

 

 

 

Ordered because it may be ordered in any other case (See §5D1.1(b)).

 

b. Length of Term of Supervised Release

Check the Class of the Offense:

 

 

Class A or B Felony: Two to Five Year Term (See §5D1.2(a)(1))

 

 

Y Class C or D Felony: One to Three Year Term (See §5D1.2(a)(2))

 

 

 

Class E Felony or Class A Misdemeanor: One Year Term (See §5D1.2(a)(3))

 

 

If a statutorily required mandatory minimum term of supervised release for the offense impacts the
guideline range for the applicable Class of Offense above, also check this box, and list the statutory
minimum term (See §5D1.2(c)):

 

 

 

years mandatory minimum term of supervised release

 

If an offense in 18 U.S.C. § 2332b(¢)(5)(B) that resulted in, or created a foreseeable risk of, death or
serious bodily injury to another person; or if a sex offense, the term of supervised release will not be
less than the minimum term established above, and may be up to life (See §5D1.2(b)).

 

 

 

Policy Statement: If a sex offense, the statutory maximum term of supervised release is recommended.

12. Restitution (See §5E1.1)

a. Ifrestitution is applicable, enter the amount. Otherwise enter “N/A” and the reason:
See Rule 11 Agreement

 

 

b. Enter whether restitution is statutorily mandatory or discretionary:

Mandatory

 

c. Enter whether restitution is by an order of restitution, or solely as a condition of supervision. Enter the
authorizing statute:

18 U.S.C. 3663A

 

U.S. Sentencing Commission Worksheets (November 1, 2016)
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orksheet D — Determining the Sentence [Page 4 of 4]

Defendant Garrett Endicott Docket Number 2:19-cr-20474

13. Fines (The Guideline Range for Fines for Individual Defendants) (See § 5E1.2)

a. Special Fine Provisions Minimum Maximum

 

Check box if any of the counts of conviction is for a statute with
a special fine provision. (This does not include the general fine
provisions of 18 USC § 3571(b)(2) & (d)).

 

 

 

 

 

 

Enter the sum of statutory maximum fines for all such counts. $N/A
b. Fine Table (§5E1.2(c)(3))
Enter the minimum and maximum fines. $1 0,000 $ 100,000

 

 

 

c. Fine Guideline Range
(Determined by the minimum of the Fine Table (Item 13(b)) and the
greater maximum above (Item 13(a) or 13(b))).

 

 

 

 

 

 

$40,000 $100,000

 

 

d. Ability to Pay

 

Check this box if the defendant does not have an ability to pay.

 

 

 

14. Special Assessments for Individual Defendants (See §5E1.3)

Enter the total amount of the statutory special assessments required for all counts of conviction:

e $100 for each felony count of conviction.

e $25 for each Class A misdemeanor count of conviction.

e While not subject to guideline sentencing, the special assessments for a Class B misdemeanor,
and a Class C misdemeanor or infraction are $10 and $5 per count, respectively.

TOTAL: $100

15. Factors That May Warrant a Departure (See §18B1.1(b))

Consider Chapter Five, Part H (Specific Offender Characteristics) and Part K (Departures), and other policy
statements and commentary in the Guidelines Manual that might warrant consideration in sentencing.
(See also the “List of Departure Provisions” included in the Guidelines Manual after the Index).

 

 

 

 

 

 

 

 

16. Factors That May Warrant a Variance (See §1B1.1(c))
Consider the applicable factors in 18 U.S.C. § 3553(a) taken as a whole.

 

 

 

 

Completed by !imothy J. Wyse Date 9/30/19

 

 

U.S. Sentencing Commission Worksheets (November 1, 2016)
